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U.S. Department of Justice

l Unfted States Attor'ney
l Di'sm`ct of Maryland
No)'fhern Dr`vi'si`ori

DIRECT: 410-209-497!

 

 

James i"i Wai'i'ner Mar'h`ng Adtires.r.' O_[]‘?ce .Loca!i`on.'
36 S. Charlex Srreer. 4!/1 Hoor 36 S. Charl'es Strecr. 4rh F!oor MAIN: 410-209-4800
saftimorc', M.D 21201' FAX.' 4}()-962~3!24

A‘s.ri'sran! Um`fed Sm!es A rrorney
J'ames. \vail'ner@u:doj.gov Bm'!imorc MD 2! 201

January 17, 2019

 

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Liz Oyer, AFPD
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Re; United States v. George Tomasack, l §§ 235
Criminal No. GLR-l 3-11552 ' 31 H-*;'?`:_,
j ‘c`:»'° '.’_,?“,-;

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Dear Counsel:
This letter together with the Sealed Supplement, confirms the plea:- -agreefrient C"€thi_$‘<r §:

“Agreement’ ’) that has been offered to your client, George Tomasack (hereinafter “Defend.a`pt”_,‘::
by the United States Attomey` S Office for the District of Maryland (“this Of`fice”). If thi:`“'_¢
Defendant accepts this offer, please have the Defendant execute it in the spaces provided below
If this offer has not been accepted by .February l, 2019, it will be deemed withdrawn The terms

Ot`fense§ sg of Conviction

l. The Defendant agrees'to waive charging by Indictment and plead guilty to the
single count Cn`minal Information, which charges the Defendant with transmitting in interstate
commerce a threat to injure the person of another, in violation of 18 U.S.C. § 8?5(c). The
Defendant admits that the Defenda.nt is, in fact, guiltyr Of the offense and will so advise the Court.

of the,Agreement are as followsl

Elements of the Offense(s)

The elements of the offense(s) to which the Defendant has agreed to plead guilty,

2.
and which this Office would prove if the case went to trial, are as follows That on or about the
time alleged m the Information, in the District of Maryland, the Defendant

a. transmitted a communication;

b. in interstate commerce; and

the transmitted communication contained a-threat to another individual

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- Penalties
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3. 'I`he maximum penalties provided by statute for the offense(s) to which the
Defendant is pleading guilty are as follows:
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Coth gmth Miriimumji Max_irnum Supervised Maximum Special
Prison 1 Prison Release Fine Assessment
1 18 U'S'C' N/A ii 5 years 1 year s250 000 s100
§ 875(c) ; ’
a. Prison: If the Court orders a term of imprisomrient, the Bureau of Prisons

has Sole discretion to designate the institution at which it will be served.

b_ Supervised Release: If the Court orders a term of supervised release and
the Defendant violates the conditions -'of supervised release, the Court may order the Defendant
retunied to custody to serve a term of imprisonment as permitted by statute followed by an
additional term of supervised release [

c. Restitution: 'I`li`e Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.
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d. Payment: If a fi_r_ie or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U. S. C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid whenl] due

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e. Forfeiture: T\he Court may enter an order of forfeiture of assets directly
traceable to the offense substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture f

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately, (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law Until the debt ls paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. l Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’ s ability to pay,
and to request and review the Defendant’ s federal and state income tax returns The Defendant
agrees to complete and sign a copy o_f IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office

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Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. rfhe
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant"went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. lf the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the Sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Couit’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to tile and have the Court rule on pretrial motions, and there will be no further

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trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences including automatic removal from the United States.
Removal and other immigration conse!quences are the subject of a separate proceeding, however,
and the Defendant understands that rid one, including the Defendant’ s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences

Advisorv Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence

Factual and Advisory Guidelines Stipulation

6. This Off`ice and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachnient A, which is incorporated by reference herein.

a. This Off`ice and the Defendant further agree that the applicable base offense
level is 12 pursuant to United States Sentencing Guideliries (“U. S. S. G. ”) §§ 2A6.l(a)(1) because
the Defendant sent a threatening communication The base-offense level is increased by 2- levels,
pursuant to 2A6.1(b)(2), because the offense involved more than two threats.

b. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3El.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
§ 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if the Defendant
(i) fails to admit each and every item in the factual Stipulation; (ii) denies involvement in the
offense; (iii) gives conflicting statements about the Defendant’s involvement in the offense; (iv) is
untruthful with the Court, this O.ff`ice, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the _
date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(viii) violates this Agreement in any way

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ii.
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7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Oblig ations of the Parties

9. At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to
bring to the Court’s attention all information with respect to the Defendant’s background,
character, and conduct that this Office or the Defendant deem relevant to sentencing, including the
conduct that is the subject of any counts of the Indictment. At the time of sentencing, this Office
will move to dismiss any open counts against the Defendant

Waiver of Appeal

10. ln exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 UiS.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of lall right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fail within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b. The Defendant and this Offlce knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release).

c. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

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Forfeiture

11. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that th_e'Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, andfor a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses

12. Specifically, but without limitation on the Government’ s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the following items that the Defendant agrees constitute
money, property, and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities

13. The Defendant agrees to_\ consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure ll(b)(l)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment

14. The Defendant agrees to assist fully in the forfeiture of the above property The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture `

15. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Ag;reernent, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture

Defendant’s Conduct Prior to Sentencing and Breach

16. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3Cl .l; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Off:ice, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreernent.

17. _ lf the Defendant engages in conduct prior to sentencing that violates the above

paragraph of this Agreement, and the Conrt finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from-its obligations under this Agreement; (ii) this Office may

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make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule ll(c)(l )(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule l l of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea_even if made pursuant to Rule
ll(c)(l)(CFif the Court finds that the Defendant breached the Agreement ln that event, neither
the Court nor the Govemment will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule ll(c)(l )(C).

Court Not a Party

18. The Court is not a party t_o this Agreement The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement The Court will determine the facts relevant to sentencing The Court is not
required to accept any recommendation or stipulation of the parties The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the Obligations
under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as:to what guidelines range or sentence the Defendant will
receive The Defendant agrees that no one has made such a binding prediction or promise

Entire Agjeement

19. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case This letter, together with the Sealed Supplement, supersedes any prior
understandings promises, or conditions between this Office and the Defendant. There are no other
agreements promises, undertakings, or 'understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,
Robert K. I-Iur

United§§mey

Jame`s‘T. Wallner
Assistant United States Attomey

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I have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory G_uidelines Stipulation with my attorney and I do not wish to
change any part of it. l am completely satisfied with the representation of my attorney.

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Date George 'I`f)masack

l am the Defendant’s attorney. _1 have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms 'l'o my knowledge the Defendant’s decision to enter
into this Agreement is an informed and voluntary one

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Date Liz Oyer,/AFPD

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ATTACHMENT A 1
STIPULATION OF FACTS

The undersigned parties stipulate and agree that ifrhis case had proceeded to ti'ial, this
Offi ce would have proven the following facts beyond a reasonable doubt The undersigned parties
also stipulate and agree that the following facts do not encompass all ofthe evidence that would
have been presented had this matter proceeded to trial

On October 25, 2016, at approximately 1:50 p.m., a call taker answering the Pentagon
Tours Office main phone line (703-697-1776) received a call from an unidentified male caller
stating that the call was an “ISIS threat” and “there will be a (unintelligible) at your building in
five hours.” The call taker attempted to obtain additional information, but stated the caller repeated
the statement and terminated the call. "I"he Pentagon Tours Office is located inside the Pentagon
in Virginia, and is staffed by United States military personnel

The phone on which the call was received displayed callback number 410-375-9330.
Promptly after the call was reported to the Pentagon Operations Center, the Pentagon Force
Protection Agency (PFPA) Threat Management Division (TMD) submitted an emergency
disclosure request to Verizon Wireless for subscriber information associated with telephone
number 410-375-9330. Information from Verizon Wireless revealed that that telephone number
410-375-9330 was a prepaid mobile number, and that the location of the phone at the time the call
was placed (l 150 p.m.), was within three tenths of a mile southwest ofTower 501, located at North
Calvert Street in Baltirnore, Maryland.

Through various data bases, law enforcement determined that telephone number 410-375-
9330 was indexed in several recent telephonic threat incidents reported and investigated by the
Federal Bureau of Investigation (FBI) Joint Terrorism Task Force (JTTF). The individual
identified as being associated with the telephone number was the Defendant, George Tomasack,
in Baltimore, Maryland. ln addition, investigators learned that telephone number 410-375~9330
was used to make a telephonic threat on the same day (October 25, 2016) at approximately 8:40
p.m., to a CNN news affiliate in Atlanta,§ Georgia. During this call, the caller stated that “he was
associated with lSlS and they were going to blow up a govemment building.” An emergency
disclosure request submitted by FBl JTTF Atlanta to Verizon Wireless returned Call Detai]
Records (CDR) for telephone number 410-375-9330. A review of the CDR for October 25, 2016,
revealed two calls made to the Pentagon Tours Office (703-697-1'776) at 1:49 and 1:51 p.m., and
two calls to the CNN News affiliate in Atlanta at 8:32 and 8:40 p.m. The CDR also revealed
Several other phone calls from telephone number 410-375-9330 on October 25, 2016, to the Wl‘lite
House, the Circuit Court for Baltimore 'City, the Department of Justice, KTVT News Fort Wol‘th,
WBFF Fox 45 Baltimore, KMAX TV 'Sacramento, and the FBI Baltimore Field Office.

 

On .1 anuary 4, 201 7, at approximately 12215 p.m., agents with the FBI JTTF in Baltimore
conducted a custodial interview with the Defendant at the Baltimore Central Booking and Intake
Facility, where the Defendant was being held on local arrest warrants Agents advised the
Defendant of their identities, the nature of the interview, and of his Mr'i'anda rights The Defendant
voluntarily waived his rights, and admitted to making numerous threatening calls utilizing

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telephone number 410-375-9330, and claimed responsibility for calling the Pentagon Tours Offlce
and CNN-Atlanta in addition to otherip_rivate and government locations The Defendant stated
that during the calls he would threaten to blow up the locations

The Defendant admitted that he made the threats with a clear mind and had been taking his
medication for mental health treatment_.E The Defendant added that if he was not charged he would
continue to make threatening phone calls to government offices

The Defendant agrees that he intended the telephone call made to the Pentagon Tour Office€
on October 25 2016 as a threat -

tamm After the threat, the Pentagon Tours Office was sliut down and a ij

sweep by both military and civilian pefsonnel for explosive devices was required.

 

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J ames f
Assistant United States Attomey

Georgell omasack

Defendant

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Liz Oyel%y
Counse for Defendant

 

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